                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

TERRY LYNN KING,                                    )
                                                    )
         Plaintiff,                                 )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:18-cv-01234
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
         Defendants.                                )




DONALD MIDDLEBROOKS,                                )
                                                    )
         Plaintiff,                                 )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:19-cv-01139
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
         Defendants.                                )




     DEFENDANTS’ UNOPPOSED MOTION TO WITHDRAW THEIR MOTION FOR
                         SUMMARY JUDGMENT


         Defendants have filed a Notice of Inaccuracies or Misstatements to be Corrected. (D.E.

218.) Pursuant to Federal Rule of Civil Procedure 7(b)(1), Defendants also move to withdraw

their Motion for Summary Judgment (D.E. 182), their Memorandum in Support of their Motion

for Summary Judgment (D.E. 183), and their Statement of Facts in Support of their Motion for

Summary Judgment (D.E. 184.) Counsel for Defendants have conferred with counsel for Plaintiff

King, who does not oppose this motion. Additionally, counsel for Defendants and for Plaintiff



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King consent that there is thus no need to respond to Plaintiff King’s Statement of Additional

Material Facts. (D.E. 201.)



                                                         Respectfully submitted,



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                                                         Attorney General and Reporter

                                                         s/ Rob Mitchell
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                                CERTIFICATE OF SERVICE


       I certify that on May 6, 2022, a copy of the foregoing was filed and served via the Court’s

CM/ECF system on the following counsel for King:

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                                                            s/ Rob Mitchell
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